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8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )
                                    )      CR. NO. S-04-096 DFL
12                  Plaintiff,      )
                                    )      ORDER RE DEFENDANTS’
13             v.                   )      MOTION TO REVEAL GOVERNMENT
                                    )      INFORMANTS
14   MIGUEL CAMPOS LOPEZ et al,     )
                                    )
15                  Defendants.     )
                                    )
16   _______________________________)
17        In the week of March 28 and in the week of April 11, 2005, in
18   two in camera sealed proceedings, the court took testimony regarding
19   the defendants’ motion to reveal the government’s informants in the
20   captioned action.   The government was represented by Assistant U.S.
21   Attorney Mary L. Grad.
22        The court heard from the individual denominated as the
23   informant in the sealed portion of the search warrant in this case.
24   The court also heard testimony from another individual who was the
25   actual source of much of the information that the informant supplied
26   to law enforcement during the investigation.
27         After listening to the testimony and considering the argument
28   of government counsel in the case, the court finds that neither the

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1    informant or the source of the informant’s information possess any
2    information that would be exculpatory to any defendant in this case,
3    or material to the structuring of a defense for any defendant or
4    even helpful to any defense in this case.         Moreover, the court
5    finds that most, if not all, of the information possessed by the
6    informant and his source of information is inculpatory and, to the
7    extent that it is not inculpatory, it is neutral.
8         The court further finds that the government has made an
9    adequate showing that both witnesses (the informant and his source
10   of information) would be subject to threat and potential harm if
11   either of their names were revealed.       The court also relies heavily
12   on the testimony of agent Nick Garcia who testified at the
13   proceeding and finds that it appears nearly impossible for law
14   enforcement to penetrate organizations that manufacture
15   methamphetamine through the use of undercover agents.
16        Therefore, the court finds that under the balancing test in
17   Roviaro v. United States, 353 U.S. 53 (1957), the informant and his
18   source of information should not be disclosed.
19
20   SO ORDERED.
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22   DATED: April 26, 2005                    __/s/ David F. Levi
                                              DAVID F. LEVI
23                                            United States District Judge
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